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                IN THE UNITED STATES BANKRUPTCY COURT FOR
                    THE NORTHERN DISTRICT OF MISSISSIPPI

IN THE MATTER OF:                                             CHAPTER 13 CASE NO.:

DEWAYNE JONES                                                 21-10854-JDW

                             OBJECTION TO EXEMPTIONS

      COMES NOW Locke D. Barkley, Chapter 13 Trustee, by and through counsel,
and files this Objection to Exemptions (the “Objection”) and in support states as
follows:

      1.     The Debtor initiated this proceeding with the filing of a voluntary petition
for relief on April 30, 2021. The Section 341(a) Meeting of Creditors is scheduled for
May 26, 2021.

      2.     In Schedule C (Dkt. #1) the Debtor claims the following property as
exempt: 2012 Toyota Tundra, 2013 Lexus ES350, 2011 Hyundai Sonata. The Debtor
cites Miss. Code Ann. § 85-3-1(a) as the basis for each exemption.

      3.     While the claimed exemptions may, arguably, be within the statutory
allowance, the exemptions claimed for the 2012 Toyota Tundra, 2013 Lexus ES350, and
2011 Hyundai Sonata in the amount of “100% of fair market value, up to any applicable
statutory limit” is problematic. Such claimed exemptions result in a certain degree of
ambiguity and uncertainty which impairs the rights of creditors and the Trustee, or
successor trustee.

      4.     The Trustee requests that the exemptions claimed in 2012 Toyota Tundra,
2013 Lexus ES350, 2011 Hyundai Sonata be disallowed without prejudice to the Debtor
amending Schedule C to state an amount certain for each of the claimed exemptions.

      WHEREFORE, PREMISES CONSIDERED, Locke D. Barkley, Chapter 13 Trustee,
prays that upon notice and hearing that this Court enter its order sustaining the
Trustee’s Objection and for such other relief to which the Trustee and this bankruptcy
estate may be entitled.

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       Dated: May 18, 2021

                                          Respectfully submitted,
                                          LOCKE D. BARKLEY, TRUSTEE

                                          BY: /s/ W. Jeffrey Collier
                                          W. JEFFREY COLLIER, ESQ.
                                          Attorney for Trustee
                                          6360 I-55 North, Suite 140
                                          Jackson, Mississippi 39211
                                          (601) 355-6661
                                          ssmith@barkley13.com
                                          MSB No. 10645


                              CERTIFICATE OF SERVICE

        I, the undersigned attorney for the Trustee, do hereby certify that I electronically
filed the foregoing with the Clerk of Court using the CM/ECF system, and I hereby
certify that I either mailed by United States Postal Service, first class, postage prepaid,
or electronically notified through the CM/ECF system, a copy of the above and
foregoing to the Debtor, attorney for the Debtor, the United States Trustee, and other
parties in interest, if any, as identified below.

       Dated: May 18, 2021

                                          /s/ W. Jeffrey Collier
                                          W. JEFFREY COLLIER




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